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10
     Attorneys for Plaintiff,
11   TODD WILLIAMSON
12
13                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
14
15
     TODD WILLIAMSON, an individual,               Case No.
16
               Plaintiff,
17
                                               COMPLAINT FOR VIOLATIONS
         v.
18                                             OF: AMERICANS WITH
     LIPPMAN CRENSHAW, LLC, a                  DISABILITIES ACT OF 1990, 42
19
     California limited liability company; and U.S.C. § 12181, et seq.; UNRUH
20   DOES 1-10,                                CIVIL RIGHTS ACT, CALIFORNIA
                                               CIVIL CODE § 51, et seq.
21
              Defendants.
22
                                               DEMAND FOR JURY TRIAL
23
24
25                 Most Americans become disabled, at some point in life…
26
              Plaintiff Todd Williamson (hereinafter referred to as “Plaintiff”) complains
27
28   of Lippman Crenshaw, LLC, a California limited liability company; and Does 1-10


                                           COMPLAINT
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 1   (each, individually a “Defendant,” and collectively “Defendants”), and alleges as
 2
     follows:
 3
 4                                     I.     PARTIES

 5         1.     Plaintiff Todd Williamson suffers from cerebral palsy. He has great
 6
     difficulty with mobility. His posture, movement, and reflexes are impaired. His
 7
 8   upper body strength is impaired. He relies on a walker for mobility and has great
 9   difficulty moving his body. Plaintiff’s cerebral palsy impairs his ability to walk,
10
     move, and interact with people and objects around him. He is a disabled person
11
12   entitled to the protections of the California Unruh Civil Rights Act (UCRA) (see
13   Cal. Civ. Code §§ 51, et seq., 52, et seq.), the Americans with Disabilities Act
14
     (ADA) (see 42 U.S.C. § 12102, et seq.), and other statutory laws which protect the
15
16   rights of “disabled persons.” Plaintiff has been issued a blue permanent Disabled
17   Person Parking Placard, by the State of California. Plaintiff is a California resident
18
     with physical disabilities.
19
20         2.     Defendant Lippman Crenshaw, LLC, a California limited liability
21   company owned the property (the “Property”), located at 10100 S. Crenshaw Blvd.,
22
     Inglewood, CA 90303.
23
24         3.     There is a business establishment on the Property named “Smart &
25
     Final Extra!,” (hereinafter, “the business”).
26
           4.     The business is a public accommodation as defined by 42 U.S.C. §
27
28
                                          2
                                      COMPLAINT
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 1   12181(7).
 2
           5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 3
 4   owners, subsidiaries, parent companies, affiliates, employers, employees, agents,

 5   corporate officers, managers, principles, and/or representatives of Defendants.
 6
     Plaintiff is unaware of the true names and capacities of Defendants sued herein as
 7
 8   DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
 9   names. Plaintiff requests that the Court grant leave to amend this complaint to
10
     allege the true names and capacities when determined by whatever source.
11
12         6.     Defendants, at all relevant times, were relevant to this action; were the
13   owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
14
     agents, affiliates, employees, employers, representative partners, subsidiaries,
15
16   partner companies, and/or joint venturers of the remaining Defendants; and were
17   acting within the course and scope of that relationship. Upon information and
18
     belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
19
20   authorized the acts alleged of each of the remaining Defendants.
21         7.     Plaintiff visited the public accommodations owned, leased, and/or
22
     operated by Defendants with the intent to purchase and/or use the goods, services,
23
24   facilities, privileges, advantages, and/or accommodations offered by Defendants.
25
                             II.    JURISDICTION & VENUE
26
           8.     This Court has subject matter jurisdiction over this action pursuant to
27
28
     28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
                                          3
                                      COMPLAINT
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 1          9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 2
     action, arising from the same nucleus of operative facts, and arising out of the same
 3
 4   transactions, is also brought under the UCRA, which expressly incorporates the

 5   ADA.
 6
            10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
 7
 8   the real property which is the subject of this action is located in this district, and
 9   Plaintiff’s cause of action arose in this district.
10
11
12                                         III.   FACTS
13          11.    The Property is a facility which is open to the public and includes
14
     business establishments.
15
16          12.    The Property has been newly constructed and/or underwent
17   remodeling, repairs, or alterations after January 26, 1992. Defendants have failed
18
     to comply with California access standards which applied at the time of each new
19
20   construction and/or alteration, and/or failed to maintain accessible features in
21
     operable working condition.
22
            13.    Plaintiff visited the Property during the relevant statutory period on
23
24   two (2) separate occasions, in June 2021 and July 2021 to patronize the business on
25
     the Property.
26
            14.    Defendants did not offer persons with disabilities with equivalent
27
28
                                            4
                                        COMPLAINT
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 1   facilities, privileges, and advantages offered by Defendants to other patrons.
 2
           15.    Plaintiff encountered barriers, both physical and intangible, that
 3
 4   interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,

 5   privileges, and/or accommodations offered at the Property.
 6
           16.    Parking is one of the facilities, privileges, and advantages offered by
 7
 8   Defendants to patrons of the Property.
 9         17.    However, there was no accessible parking for disabled patrons at the
10
     Property. The parking spaces designated for disabled persons did not comply with
11
12   the ADA.
13         18.    The parking area did not comply with the applicable California
14
     Building Code (CBC).
15
16         19.    When Plaintiff visited the Property, he experienced access barriers
17   related to parking, signage, paths of travel, and restrooms.
18
           20.    Plaintiff encountered the following barriers, conditions, and/or
19
20   violations at the Property:
21         Smart & Final Extra! does not have accessible designated disabled
22
           parking spaces. The parking spaces have faded paint, inadequate space
23
24         dimensions, slopes, and vandalized signage. The paths of travel have
25
           slopes and pavement distresses which make is dangerous for Plaintiff to
26
           traverse with his walker. The restroom inside of the business has missing
27
28
                                          5
                                      COMPLAINT
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 1       grab bar(s) and other non-compliant elements.
 2
 3
 4       VIOLATION of 1991 ADAS § 4.3.2(1); 2010 ADAS § 206.2.1; 2010 CBC

 5       § 1114B.1.2; 2019 CBC § 11B-206.2.1. (Exterior route of travel.) An
 6
         accessible route of travel is not provided to all entrances and portions of the
 7
 8       building, to all entrances of the Property, and/or between the building and a
 9       public way. Plaintiff needs a dedicated path of travel, free of obstructions
10
         and vehicles, where (on which) Plaintiff can travel. It is dangerous for
11
12       Plaintiff to navigate without a safe, protected, accessible route of travel; thus,
13       the violation interferes with Plaintiff’s ability to fully access the premises.
14
15
16       VIOLATION of 1991 ADAS §§ 4.1.2(1), 4.3.2(1); 2010 ADAS §§ 206.1,
17       206.2, 206.2.1, 206.2.2, 206.2.4; 2010 CBC § 1114B.1.2; 2010 CBC §
18
         1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-206.2.4.
19
20       (Accessible route of travel.) At least one accessible route shall be provided
21       within the site from accessible parking spaces and accessible passenger
22
         loading zones; public streets and sidewalks; and public transportation stops to
23
24       the accessible building or facility entrance they serve. At least one accessible
25
         route shall connect accessible buildings, accessible facilities, accessible
26
         elements, and accessible spaces that are on the same site. The requisite
27
28
                                        6
                                    COMPLAINT
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 1       accessible route of travel is not provided. There is no accessible route of
 2
         travel from the designated disabled parking spaces, adjacent access aisle to
 3
 4       the business/building entrance. Plaintiff needs an accessible route of travel,

 5       with level and smooth ground, free of obstructions and vehicles, whereupon
 6
         Plaintiff can ambulate. It is dangerous for Plaintiff to travel these areas
 7
 8       without a safe, protected, accessible route of travel; thus, the violation
 9       interferes with Plaintiff’s ability to fully access the premises. The lack of a
10
         safe and accessible route, with a smooth and level surface, denied Plaintiff
11
12       full and equal use or access during each of Plaintiff’s visits by making it
13       difficult/ harder for Plaintiff to traverse.
14
15
16       VIOLATION of 1991 ADAS § 4.1.2(7); 2010 ADAS § 216.6; 2010 CBC §
17
         1127B.3; 2019 CBC § 11B-216.6. (Directional signage.) There is no
18
19       directional signage showing an accessible path of travel to an accessible
20       entrance. Plaintiff faces an increased risk of injury if Plaintiff is required to
21
         backtrack because Plaintiff cannot find an accessible entrance into the
22
23       business/building. Thus, Plaintiff requires clear signage directing him to any
24
         accessible entrance(s). Accessible entrances should be marked with an
25
         International Symbol of Accessibility.
26
27
28
                                         7
                                     COMPLAINT
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 1       VIOLATION of 2019 CBC § 11B-502.6; 2010 ADAS § 502.6. (Sign
 2
         obscured.) The sign identifying designated disabled parking space(s) is
 3
 4       illegible because it is covered with adhesive sticker(s) and/or graffiti. This

 5       makes it difficult for Plaintiff and other patrons to see and read the sign.
 6
         Plaintiff needs to be able to use an accessible parking space, with an access
 7
 8       aisle, to safely access the Property. Clear signage that explicitly marks the
 9       designated disabled parking space will deter others without disabilities from
10
         parking in the space and thereby blocking Plaintiff from being able to use it.
11
12       Plaintiff needs to park in the space that is nearest to the business entrance and
13       designated for disabled patrons.
14
15
16       VIOLATION of 2010 ADAS §§ 206.1, 206.2, 206.2.1, 206.2.2, 206.2.4;
17
         2010 CBC § 1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-
18
19       206.2.4. (Path of travel into building entrances.) There is no accessible path
20       of travel into the building entrance. Plaintiff needs a dedicated path of travel,
21
         free of obstructions and vehicles, where (on which) Plaintiff can safely
22
23       travel. It is dangerous for Plaintiff to without a safe, protected, accessible
24
         path of travel; thus, the violation interferes with Plaintiff’s ability to fully
25
         access the premises.
26
27
28
                                        8
                                    COMPLAINT
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 1       VIOLATION of 1991 ADAS § 4.3.7; 2010 ADAS § 403.3; 2019 CBC §
 2
         11B-403.3. (Route/path of travel – cross slopes.) The cross slopes of the
 3
 4       route/path of travel are greater than two percent (2%). It is difficult for

 5       Plaintiff to travel on surfaces with excess slopes. Plaintiff is at risk of falling
 6
         when there are surfaces with excess slopes. The presence of excess slopes
 7
 8       denied Plaintiff full and equal use or access during Plaintiff’s visits by
 9       making it difficult and/or uncomfortable for Plaintiff to traverse the
10
         property/route. The barrier also deterred/deters Plaintiff from visiting the
11
12       Property because it would make it difficult and/or uncomfortable for
13       Plaintiff to walk/traverse the property/route.
14
15
16       VIOLATION of 1991 ADAS §§ 4.5.2, 4.6.8; 2010 ADAS §§ 302.1, 303.1,
17
         303.2, 303.3, 303.4; 2010 CBC §§ 1120B.2, 1133 B.7.1, 1133B.7.4; 2019
18
19       CBC §§ 11B-303.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-303.5. (Abrupt
20       changes in level; uneven ground surface.) Floor and ground surfaces shall be
21
         stable, firm, and slip resistant. Changes in level of 1/4 inch high maximum
22
23       shall be permitted to be vertical and without edge treatment. Changes in
24
         level between ¼-inch high minimum and ½-inch high maximum shall be
25
         beveled with a slope not steeper than 1:2. Changes in level greater than 1/2
26
27       inch high shall be ramped. The route of travel, including from the designated
28
                                        9
                                    COMPLAINT
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 1        disabled parking space to the entrance of the building/business, have an
 2
          uneven ground surface with changes in level exceeding one-half inch (1/2")
 3
 4        (and no ramps are provided). The route of travel has damaged ground which

 5        is not flush or flat. The ground has pavement distresses. The types of
 6
          pavement distresses which exist include but are not limited to: alligator
 7
 8        (fatigue) cracking; joint reflection cracking; potholes; asphalt bleeding;
 9        patching near utilities; block cracking; raveling; stripping; corrugation and
10
          shoving; and depressions. These pavement distresses are made worse and
11
12        exacerbated by design elements which do not follow the ADAAG. These
13        areas should be fixed immediately because they pose a tripping and/or falling
14
          hazard. Plaintiff, a cannot safely and fully enjoy the premises when such
15
16        conditions are present. These excess changes in level and uneven ground
17        surfaces pose risks to Plaintiff, including that Plaintiff’s foot, may catch on
18
          the uneven ground causing Plaintiff to fall. These abrupt changes in level
19
20        pose an increased risk of danger to Plaintiff, as Plaintiff is more likely to
21
          trip/fall than someone without disabilities. The excess changes in level (i.e.,
22
          uneven ground) denied Plaintiff full and equal use or access during each of
23
24        Plaintiff’s visits by making it difficult/harder and more dangerous for
25
          Plaintiff to traverse the property/route. The excess changes in level (i.e.,
26
          uneven ground) also deterred/deters Plaintiff from visiting the Property
27
28
                                        10
                                     COMPLAINT
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 1        because it would be difficult/harder and more dangerous for Plaintiff to
 2
          traverse the property/route.
 3
 4
 5        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.2.; 2010 CBC §§
 6
          1129B.3, 1129B.4; 2019 CBC §§ 11B-502.2, 11B-502.6.4.1, 502.6.4.2.
 7
 8        (Faded paint – accessible parking space lines.) The paint used for the
 9        designated disabled parking space is so worn and aged that it cannot (can
10
          hardly) be seen. This makes it unclear where the actual designated disabled
11
12        parking space is, and it makes it difficult for Plaintiff to use the space.
13        Plaintiff needs to be able to use the designated disabled parking space, which
14
          should be located closest to the entrance and linked to an accessible route of
15
16        travel, because it is more difficult for Plaintiff as opposed to non-disabled
17        persons, to maneuver about the Property. When the paint for the designated
18
          disabled parking space is worn and aged, there is a greater risk that non-
19
20        disabled patrons will park in the designated disabled parking space,
21        preventing Plaintiff from using it and accessing the business.
22
23
24
          VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
25
          11B-502.2. (Width of designated disabled parking space.) The designated
26
27        disabled parking space measured/measures less than nine feet (9') wide,
28
                                        11
                                     COMPLAINT
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 1        which made (would make) it difficult for Plaintiff to use the designated
 2
          space, and which denied (would deny) plaintiff full and equal use and access
 3
 4        of the full width of the required space. The paint used for the accessible

 5        parking space lines are so faded and worn that it is difficult to identify the
 6
          actual dimensions of the space. Plaintiff cannot safely disembark from the
 7
 8        vehicle when adequate space is not provided. Plaintiff needs to be able to
 9        use the designated disabled parking space, which should be located closest to
10
          the entrance and linked to an accessible route of travel, because it is more
11
12        difficult for Plaintiff, as opposed to non-disabled persons to maneuver about
13        the Property.
14
15
16
          VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
17
18        11B-502.2. (Length of designated disabled parking space.) The designated

19        disabled parking space measures/measured less than eighteen feet (18') long,
20
          which made (would make) it difficult for Plaintiff to use the designated
21
22        space, and which denied (would deny) plaintiff full and equal use and access

23        of the full length of the required space. The paint used for the accessible
24
          parking space lines are so faded and worn that it is difficult to identify the
25
26        actual dimensions of the space. Plaintiff cannot safely park and disembark

27        from the vehicle when adequate space is not provided. Plaintiff needs to be
28
                                        12
                                     COMPLAINT
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 1        able to use the designated disabled parking space, which should be located
 2
          closest to the entrance and linked to an accessible route of travel, because it
 3
 4        is more difficult for Plaintiff, as opposed to non-disabled persons, to

 5        maneuver about the Property.
 6
 7
 8
          VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.2; 2010 CBC §
 9
          1129B.3; 2019 CBC § 11B-502.3.2. (Length of adjacent access aisle.) The
10
11        access aisle adjacent to the designated disabled parking space is/was less than
12
          eighteen feet (18') long (which is also the required length of the designated
13
14
          disabled parking space), which denied (would deny) plaintiff full and equal

15        use and access of the full length of the required access aisle. Plaintiff needs
16
          extra space to be able to safely exit the vehicle. When the access aisle is too
17
18        small, Plaintiff has difficulty disembarking from the vehicle, which poses a

19        greater risk of injury to Plaintiff and can also cause humiliation and/or
20
          frustration.
21
22
23        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.1; 2010 CBC §
24
          1129B.3; 2019 CBC 11B-502.3.1. (Width of adjacent access aisle.) The
25
26        loading/unloading access aisle adjacent to the designated disabled parking

27        space is/was less than five feet (5') wide, which denied (would deny) plaintiff
28
                                       13
                                    COMPLAINT
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 1        full and equal use and access of the full width of the required access aisle.
 2
          Plaintiff needs extra space to be able to safely exit the vehicle. When the
 3
 4        access aisle is too small, Plaintiff has difficulty disembarking from the

 5        vehicle, which poses a greater risk of injury to Plaintiff and can also cause
 6
          humiliation and/or frustration.
 7
 8
 9
          VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2016 CBC §§
10
11        11B-502.4, 11B-502.3.3; 2010 CBC § 1129B.3.4. (Slope of designated
12        disabled parking spaces.) The designated disabled parking spaces have
13
          slopes and cross slopes that are greater than two percent (2%). Given
14
15        Plaintiff’s mobility issues, Plaintiff needs to be able to traverse on a level
16        surface. Sloped ground surfaces pose risks to Plaintiff, including that
17
          Plaintiff’s feet may catch on the sloped ground, causing Plaintiff to fall.
18
19
20        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2010 CBC §
21
          1129B.3.3; 2019 CBC § 11B-502.4. (Slopes of adjacent access aisle.) The
22
23        loading/unloading access aisle adjacent to the designated disabled parking
24
          spaces has surface slopes greater than two percent (2%). Given Plaintiff’s
25
          mobility issues, Plaintiff needs to be able to traverse on a level surface.
26
27        Sloped ground surfaces pose risks to Plaintiff, including that Plaintiff’s feet
28
                                        14
                                     COMPLAINT
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 1        may catch on the sloped ground, causing Plaintiff to fall.
 2
 3
 4        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §

 5        1129B.3.1; 2019 CBC § 11B-502.3. (No loading/unloading access aisle.)
 6
          The loading/unloading access aisle which is required to be adjacent to the
 7
 8        designated disabled parking space is/was essentially missing. There were a
 9        few barely visible lines, which may have been the remnants of a once
10
          painted access aisle, but which did not constitute or depict a compliant
11
12        access aisle. This made it difficult for Plaintiff to use the space (i.e., the
13        barely visible former access aisle) to safely disembark from the vehicle. The
14
          barrier denied (would deny) Plaintiff full and equal use or access, by
15
16        depriving Plaintiff of an aisle which is required to be properly striped/
17        marked for Plaintiff’s use (i.e., for the use of disabled persons as opposed to
18
          nondisabled persons). Plaintiff requires sufficient space to safely disembark
19
20        with her mobility device(s) away from other vehicles. Also, when an access
21        aisle is not clearly painted, there is a greater chance that non-disabled
22
          individuals will park in the access aisle, blocking Plaintiff’s use thereof.
23
24
25
          VIOLATION of 2010 ADAS § 502.3.3; 2010 CBC § 1129B.3.1; 2019
26
          CBC § 11B-502.3.3. (“NO PARKING” – ground surface signage.) The
27
28
                                        15
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 1        words “NO PARKING,” which are required to be painted in the loading/
 2
          unloading access aisle, were/are missing (and/or were completely faded such
 3
 4        that the words were no longer visible). As a result, non-disabled patrons

 5        parked in the loading/unloading access aisle, blocking Plaintiff from being
 6
          able to use the access aisle. Plaintiff needs extra space to be able to safely
 7
 8        exit the vehicle. Plaintiff has difficulty disembarking the vehicle, which
 9        poses a greater risk of injury to Plaintiff and can cause humiliation and/or
10
          frustration. Plaintiff cannot access the Property safely if Plaintiff cannot use
11
12        an accessible parking space and adjacent access aisle.
13
14
          VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §
15
16        1129B.3; 2019 CBC § 11B-502.3. (Access aisle adjoining accessible route.)
17        The adjacent loading/unloading access aisles must adjoin an accessible route
18
          to an accessible entrance. It does/did not. Plaintiff cannot access the
19
20        Property safely unless there is an access aisle onto which Plaintiff can
21        disembark from the vehicle. The access aisle must lead to an accessible route,
22
          so that Plaintiff can safely travel to and enter the business. There is no safe
23
24        route of travel from the designated disabled parking space to the business
25
          entrance. The barrier deterred/deters Plaintiff from visiting the property
26
          because the lack of a safe and accessible route would make it difficult,
27
28
                                       16
                                    COMPLAINT
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 1        uncomfortable, and/or unsafe for Plaintiff to walk around the property,
 2
          including to travel from the designated disabled parking space to the building
 3
 4        entrance.

 5
 6
          VIOLATION of 1991 ADAS §§ 4.3.7, 4.8.1; 4.8.4(2), 4.8.4(3); 2010 ADAS
 7
 8        § 403.3; 2010 CBC §§ 1133B.5.4.2, 1133B.5.4.6; 2019 CBC § 11B-403.3.
 9        (Excess slopes; no compliant ramp.) The route(s) of travel has/have slopes
10
          greater than 1:20 (5%), but there is no compliant ramp (with appropriate
11
12        level ramp landings at the top and bottom of each ramp). It is difficult for
13        Plaintiff to walk on sloped surfaces that do not provide the safety features of
14
          a compliant ramp. These excess changes in level pose risks to Plaintiff,
15
16        including that Plaintiff may fall. The lack of a complaint ramp, with its
17        attendant safety/accessibility features, denied Plaintiff full and equal use or
18
          access during his visits by making it difficult/harder for Plaintiff to traverse
19
20        the property/route.
21
22
          VIOLATION of 2010 CBC § 1133B.5.2; 2019 CBC § 11B-405.5.
23
24        (Minimum width of ramps.) The route of travel has slopes greater than 1:20
25
          (5%), but there is no compliant ramp. There is no compliant ramp with a
26
          minimum width of forty-eight inches (48"). Plaintiff requires adequate space
27
28
                                        17
                                     COMPLAINT
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 1        to navigate on sloped surfaces and/or ramps and Plaintiff cannot do so
 2
          without a ramp of sufficient width. The lack of a complaint ramp, of the
 3
 4        requisite width, denied Plaintiff full and equal use or access during Plaintiff’s

 5        visits by making it difficult/ harder for Plaintiff to traverse the property/route.
 6
          The lack of a complaint ramp, of the requisite width, also deterred/deters
 7
 8        Plaintiff from visiting the Property because it would be difficult/harder for
 9        Plaintiff to traverse the property/route.
10
11
12        VIOLATION of 1991 ADAS § 4.8.2; 2010 CBC § 1133B.5.3. (Least
13        possible slope of ramp.) There is no compliant ramp, with the least possible
14
          slope, leading into the business. The curb ramp exceeds the maximum
15
16        running slope allowable. Plaintiff has difficulty traveling on slopes that are
17        not compliant ramps.
18
19
20        VIOLATION of 1991 ADAS § 4.16.6; 2010 ADAS § 604.7; 2010 CBC §
21        1115B.8.4. (Toilet paper dispenser.) The restroom’s toilet tissue dispenser is
22
          mounted more than twelve inches (12”) from the front edge of the toilet seat,
23
24        making (which would make) it difficult for Plaintiff to reach the tissue
25
          dispenser and use the toilet.
26
27
28
                                        18
                                     COMPLAINT
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 1          VIOLATION of 2010 CBC § 1115B.4.1.3.3.2. (Toilet rear grab bar.) The
 2
            grab bar on the wall behind the toilet, which is required to be at least thirty-
 3
 4          six (36) inches long, is not provided.

 5
 6
            VIOLATION of 2010 CBC § 1115B.4.1.3.3.2. (Toilet - rear grab bar
 7
 8          height.) The toilet rear grab bar centered thirty-three (33) inches above and
 9          parallel to the to the floor is not provided.
10
11
12          21.    Plaintiff personally encountered the foregoing barriers, conditions,
13
     and/or violations.
14
15          22.    These barriers, conditions, and/or violations denied Plaintiff full and
16   equal access, and caused him difficulty, humiliation, and/or frustration.
17
            23.    The barriers, conditions, and/or violations existed during each of
18
19   Plaintiff’s visits in 2021.
20          24.    Defendants knew that the foregoing architectural barriers prevented
21
     access. Plaintiff will prove that Defendants had actual knowledge that the
22
23   architectural barriers prevented access, and that the noncompliance with the ADA
24
     Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
25
     Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
26
27   was intentional.
28
                                          19
                                       COMPLAINT
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 1          25.    Plaintiff intends and plans to visit the Property again soon. Currently,
 2
     Plaintiff is reasonably deterred from returning to Defendants’ public
 3
 4   accommodation facilities because of the knowledge of barriers to equal access,

 5   relating to Plaintiff’s disabilities, that continue to exist at the Property.
 6
            26.    Defendants have failed to maintain in working and useable condition
 7
 8   those features necessary to provide ready access to persons with disabilities.
 9          27.    Defendants have the financial resources (i.e., financial ability) to
10
     remove these barriers without much expense or difficulty in order to make the
11
12   Property more accessible to their mobility impaired customers (i.e., disabled
13   persons). The removal of these barriers is readily achievable. The United States
14
     Department of Justice has determined that removal of these types of barriers is
15
16   readily achievable.
17          28.    Defendants refuse to remove these barriers.
18
            29.    On information and belief, Plaintiff alleges that Defendants’ failure to
19
20   remove these barriers was/is intentional, because the barriers are logical and
21
     obvious. During all relevant times, Defendants had authority, control, and
22
     dominion over these conditions. Thus, the absence of accessible facilities was/is
23
24   not a mishap; it was/is the result of intentional actions or inaction.
25
            30.    These barriers to access are described herein without prejudice to
26
     Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
27
28
                                           20
                                        COMPLAINT
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 1   agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
 2
     (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
 3
 4   have all barriers that relate to his or her disability removed, regardless of whether

 5   he or she personally encountered them).
 6
                    IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
 7
 8                    AMERICANS WITH DISABILITIES ACT OF 1990
 9                                  (42 U.S.C. § 12101, et seq.)
10
                                     (Against All Defendants)
11
12            31.    Plaintiff alleges and incorporates by reference each and every
13   allegation contained in all prior paragraphs of this complaint.
14
              32.    Title III of the ADA prohibits discrimination against any person on the
15
16   basis of disability in the full and equal enjoyment of the goods, services, facilities,
17   privileges, advantages, or accommodations of any place of public accommodation
18
     by any person who owns, leases, or operates a place of public accommodation. 42
19
20   U.S.C. § 12182(a).
21            33.    Defendants discriminated against Plaintiff by denying him “full and
22
     equal enjoyment” and use of the goods, services, facilities, privileges, and/or
23
24   accommodations they offered during each visit, and each incident of a deterred
25
     visit.
26
              34.    The acts and omissions of Defendants herein were/are in violation of
27
28
                                           21
                                        COMPLAINT
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 1   Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
 2
     et seq.
 3
 4             35.   Pursuant to the ADA, discrimination is a “failure to make reasonable

 5   modifications in policies, practices or procedures, when such modifications are
 6
     necessary to afford goods, services, facilities, privileges, advantages or
 7
 8   accommodations to individuals with disabilities, unless the entity can demonstrate
 9   that making such modifications would fundamentally alter the nature of such goods,
10
     services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
11
12   12182(b)(2)(A)(ii).
13             36.   The ADA requires removal of architectural barriers in existing
14
     facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
15
16   (“discrimination includes … a failure to remove architectural barriers, and
17   communication barriers that are structural in nature, in existing facilities, … where
18
     such removal is readily achievable”). The term “readily achievable” is defined as
19
20   “easily accomplishable and able to be carried out without much difficulty or
21
     expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
22
     Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
23
24   ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
25
     Appendix A.
26
               37.   If removal of any barrier is not readily achievable, a failure to make
27
28
                                           22
                                        COMPLAINT
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 1   goods, services, facilities, or accommodations available through alternative
 2
     methods is also prohibited if the alternative methods are readily achievable. 42
 3
 4   U.S.C. § 12182(b)(2)(A)(v).

 5         38.    Defendants can remove the architectural barriers at their facility
 6
     without much difficulty or expense. Defendants violated the ADA by failing to
 7
 8   remove the barriers because removal was readily achievable. For instance, there
 9   are companies which can repaint parking areas for as little as $350. Defendants can
10
     afford such costs, which are a fraction of what Defendants receive in (rental or
11
12   business) profits in connection with such a large and expensive property.
13         39.    Alternatively, if it was not “readily achievable” for Defendants to
14
     remove barriers at their facilities, Defendants violated the ADA by failing to make
15
16   their services available through alternative methods which are readily achievable.
17         40.    On information and belief, Plaintiff alleges that the facility was altered
18
     after January 26, 1992, mandating compliance with accessibility requirements
19
20   under the ADA.
21         41.    The ADA requires that facilities altered in a manner that affects or
22
     could affect their usability must be made readily accessible to individuals with
23
24   disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
25
           42.    Defendants altered the facilities at the Property in a manner that
26
     violated the ADA, and/or failed to make the Property readily accessible to
27
28
                                         23
                                      COMPLAINT
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 1   physically disabled persons to the maximum extent feasible.
 2
           43.    The ADA also requires reasonable modifications in policies, practices,
 3
 4   or procedures, when such modifications are necessary to afford goods, services,

 5   facilities, privileges, advantages, or accommodations to individuals with
 6
     disabilities, unless the entity can demonstrate that making such modifications
 7
 8   would fundamentally alter the nature of such goods, services, facilities, privileges,
 9   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
10
           44.    Defendants violated the ADA by failing to make reasonable
11
12   modifications in policies, practices, or procedures at the Property when these
13   modifications were necessary to afford (and would not fundamentally alter the
14
     nature of) the goods, services, facilities, privileges, advantages, or accommodations.
15
16         45.    Plaintiff seeks a finding from this Court that Defendants violated the
17   ADA, so that he may pursue damages under California’s Unruh Civil Rights Act.
18
           46.    Here Defendants’ failure to make sure that accessible facilities were
19
20   available to, and ready to be used by, Plaintiff was/is a violation of law.
21         47.    Plaintiff would like to continue to frequent the Property, which is close
22
     to his home. However, he is deterred from doing so because he has been
23
24   discriminated against and is aware of accessibility barriers at the Property.
25
           48.    Among the remedies sought, Plaintiff seeks an injunction order
26
     requiring compliance with federal and state disability access laws, and remediation
27
28
                                         24
                                      COMPLAINT
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 1   of the existing access violations (i.e., removal of the existing barriers) at the
 2
     Property.
 3
 4               V. SECOND CAUSE OF ACTION: VIOLATION OF THE

 5                              UNRUH CIVIL RIGHTS ACT
 6
                                   (Cal. Civ. Code §§ 51-53)
 7
 8                                  (Against All Defendants)
 9         49.    Plaintiff repleads and incorporates by reference, as though fully set
10
     forth herein, the allegations contained in all prior paragraphs of this complaint.
11
12         50.    California Civil Code § 51 states, in part: “All persons within the
13   jurisdictions of this state are entitled to the full and equal accommodations,
14
     advantages, facilities, privileges, or services in all business establishments of every
15
16   kind whatsoever.”
17         51.    California Civil Code § 51 also states, in part: “No business
18
     establishment of any kind whatsoever shall discriminate against any person in this
19
20   state because of the disability of the person.”
21
           52.    California Civil Code § 51(f) specifically incorporates, by reference,
22
     an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
23
24         53.    The UCRA also provides that a violation of the ADA, or California
25
     state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
26
     see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
27
28
                                          25
                                       COMPLAINT
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 1   1994).
 2
            54.    Defendants’ above-mentioned acts and omissions have violated the
 3
 4   UCRA by denying Plaintiff his rights to full and equal use of the accommodations,

 5   advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
 6
     disability.
 7
 8          55.    Defendants’ above-mentioned acts and omissions have also violated
 9   the UCRA by denying Plaintiff his rights to equal access pursuant to the ADA; and,
10
     thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
11
12          56.    Because Defendants’ violation of the UCRA resulted in difficulty,
13   discomfort, and/or embarrassment for Plaintiff, Defendants are each also
14
     responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
15
16   //
17   //
18
     //
19
20   //
21
     //
22
     //
23
24   //
25
     //
26
     //
27
28
                                          26
                                       COMPLAINT
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 1         57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
 2
     He seeks actual damages, and statutory minimum damages of four thousand dollars
 3
 4   ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied full and

 5   equal access).
 6
                                    PRAYER FOR RELIEF
 7
 8         WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
 9         1. For injunctive relief compelling Defendants to comply with the
10
                 Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
11
12               Plaintiff is not invoking section 55 of the California Civil Code and is not
13               seeking injunctive relief under the Disabled Persons Act.
14
           2. Damages under the Unruh Civil Rights Act, which provides for actual
15
16               damages and statutory minimum damages of $4,000 per each offense.
17         3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
18
                 to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
19
20                                      JURY DEMAND
21
           Plaintiff demands a trial by jury on all issues so triable.
22
23
24
     Dated: August 20, 2021             THE LAW OFFICE OF HAKIMI & SHAHRIARI
25
                                        By:   /s/ Peter Shahriari
26                                            PETER SHAHRIARI, ESQ.
27                                            Attorney for Plaintiff Todd Williamson
28
                                           27
                                        COMPLAINT
